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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Lolita Harrison, NO. CV-18-00990-PHX-SMB
Plaintiff,

JUDGMENT IN A CIVIL CASE

Vv.

Honeywell International, et al.,

Defendants.

 

 

 

 

Decision by Court. This action came for consideration before the Court. The
issues have been considered and a decision has been rendered.

IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order filed
August 7, 2019, which granted Defendant’s Motion for Summary Judgment, judgment is
entered in favor of Defendant both on Plaintiffs Complaint and on Defendant’s

Counterclaim for $1,826.92. This action is hereby terminated.

Brian D. Karth
District Court Executive/Clerk of Court

August 7, 2019

s/ Erica Aragon
By Deputy Clerk

 

 
